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          EXHIBIT A
                                                                        CT '0./P,
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                                                                               PERSONAL INJURY

  STATE OF MINNESOTA                                                             DISTRICT COURT

  COUNTY OF HENNEPIN                                                  FOURTH JUDICIAL DISTRICT

  Megan M. Lamke,

                      Plaintiff,
                                                                                       SUMMONS
  V.



                      Defendant.

THE STATE OF MINNESOTA TO THE ABOVE-NAMED DEFENDANT:
        1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this Summons. Do not throw these
papers away. They are official papers that affect your rights. You must respond to this
lawsuit even though it may not yet be filed with the Court and there may be no court
file number on this Summons.
        2. YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS. You must give or
mail to the person who signed this Summons a written response called an Answer within
21 days of the date on which you received this Summons. You must send a copy of your
Answer to the person who signed this Summons located at: 901 Marquette Avenue,
Suite 500, Minneapolis, MN 55402-3205.
        3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response to the
Plaintiff's Complaint. In your Answer you must state whether you agree or disagree with
each paragraph of the Complaint. If you believe the Plaintiff should not be given
everything asked for in the Complaint; you must say so in your Answer.
        4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN RESPONSE TO THE
COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS. If you do not Answer within 21
days, you will lose this case. You will not get to tell your side of the story, and the Court
may decide against you and award the Plaintiff everything asked for in the Complaint.
If you do not want to contest the claims stated in the Complaint, you do not need to




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respond. A default judgment can then be entered against you for the relief requested
in the Complaint.
      5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
have a lawyer, the Court Administrator may have information about places where you
can get legal assistance. Even if you cannot get legal help, you must still provide a
written Answer to protect your rights or you may lose the case.
      6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be ordered to
participate in an alternative dispute resolution process under Rule 1 14 of the Minnesota
General Rules of Practice. You must still send your written response to the Complaint
even if you expect to use alternative means of resolving this dispute.




Dated:   H 110 I-9J.
                                           James     arey
                                           Attorn   or P
                                           SiebenCarey,
                                           901 Marquette Avenue, Suite 500
                                           Minneapolis, MN 55402-3205
                                           612-333-4500
                                           Jim.Carey@Knowyourrights.com




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                                                                              PERSONAL INJURY

  STATE OF MINNESOTA                                                             DISTRICT COURT

  COUNTY OF HENNEPIN                                                  FOURTH JUDICIAL DISTRICT

  Megan M. Lamke,                                                                    Court File No.

                      Plaintiff,

  V.                                                                                  COMPLAINT

  Sunbelt Rentals, Inc.,

                      Defendant.


        PLAINTIFF FOR HER CLAIM FOR RELIEF, STATES AND ALLEGES AS FOLLOWS:



        At all times material hereto, Plaintiff Megan M. Lamke was a resident of the State

of Minnesota.



        At all times material hereto, Defendant Sunbelt Rentals, Inc. is a foreign

corporation licensed to do business in the State of Minnesota.



        On or about July 08, 2021, near the I-35W south in the merge area for 1-94, in the

City of Minneapolis, County of Hennepin, State of Minnesota, a collision occurred

between an automobile owned by Defendant Sunbelt Rentals, Inc. and driven by a

person unknown at this time, and an automobile operated by Plaintiff Megan M.

Lamke.




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                                           IV.

         The collision was a result of the negligence and carelessness of an unknown

driver in possession of a vehicle owned by Defendant Sunbelt Rentals, Inc.

                                           V.

         The automobile was owned by Defendant Sunbelt Rentals, Inc., and was being

operated with the consent, expressed or implied, of Defendant Sunbelt Rentals, Inc.

                                           V I.

         As a direct and proximate result of the negligence and carelessness of

Defendant Sunbelt Rentals, Inc., Plaintiff Megan M. Lamke sustained severe and

permanent injuries in mind and body, incurring loss of wages and wage-earning ability,

property damage and medical expenses, all of which problems are continuing in

nature, resulting in damage to her in an undetermined sum at this time.

       WHEREFORE, Plaintiff Megan M. Lamke demands judgment against Defendant

Sunbelt Rentals, Inc. herein for a reasonable sum in excess of Fifty Thousand ($50,000.00)

Dollars, together with interest, costs and disbursements herein.

                                   ACKNOWLEDGMENT

      The undersigned hereby acknowledges that costs, disbursements, and

reasonable attorney and witness fees may be awarded pursuant to Minn. Stat. §549.211

to the party against whom the allegations in this pleading are asserted.


Dated:     ft 11013,1
                                           James P.    rey, #1
                                           Attorney or Plainti
                                           SiebenCarey, P.A.
                                           901 Marquette Avenue, Suite 500
                                           Minneapolis, MN 55402-3205
                                           (612) 333-9750
                                           Jim.Carey@Knowyourrights.com




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